                     Case 5:22-cv-00535-HE            Document 6           Filed 06/28/22   Page 1 of 10
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma

Clifford Locke and Taffy Locke                                 )
                                                               )
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No. CIV-22-535-HE
Brian Witt and Tara Witt, et al.                               )
                                                               )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Jerome Decker, Trustee of The Jerome Decker Revocable Trust Dated April 14, 2018
2301 W Lyman Street
Wichita, KS 67204-4741


         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
Colby J. Byrd, Allison B. Christian, Gatlin C. Squires, McAfee & Taft A Professional Corporation, 8th Floor,
Two Leadership Square, 211 North Robinson, Oklahoma City, OK 73102, colby.byrd@mcafeetaft.com,
 allison.christian@mcafeetaft.com, gatlin.squires@mcafeetaft.com; Attorneys for Defendants and Third-Party
Plaintiffs, Brian Witt and Tara Witt
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                      9:49 am, Jun 28, 2022




Signed and sealed by the Clerk of the Court or Deputy Clerk.
                       Case 5:22-cv-00535-HE                 Document 6        Filed 06/28/22          Page 2 of 10

AO 440 (Rev. 02/09) Summons in a Civil Action (Page 2)

 Civil Action No. CIV-22-535-HE

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                   on (date)                         ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                         ; or

           ’ I returned the summons unexecuted because                                                                           ; or

           ’ Other (specify):
                                                                                                                                         .


           My fees are $                           for travel and $                 for services, for a total of $   0.00                .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




          Print                       Save As...                                                                     Reset
                     Case 5:22-cv-00535-HE            Document 6           Filed 06/28/22   Page 3 of 10
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma

Clifford Locke and Taffy Locke                                 )
                                                               )
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No. CIV-22-535-HE
Brian Witt and Tara Witt, et al.                               )
                                                               )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Jeanette Bender, aka Jeannette R. Bender, Co-Trustee of The Donald and Jeannette Bender Revocable Trust
2301 W Lyman Street
Wichita, KS 67204-4741


         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
Colby J. Byrd, Allison B. Christian, Gatlin C. Squires, McAfee & Taft A Professional Corporation, 8th Floor,
Two Leadership Square, 211 North Robinson, Oklahoma City, OK 73102, colby.byrd@mcafeetaft.com,
 allison.christian@mcafeetaft.com, gatlin.squires@mcafeetaft.com; Attorneys for Defendants and Third-Party
Plaintiffs, Brian Witt and Tara Witt
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                       9:49 am, Jun 28, 2022




Signed and sealed by the Clerk of the Court or Deputy Clerk.
                       Case 5:22-cv-00535-HE                 Document 6        Filed 06/28/22          Page 4 of 10

AO 440 (Rev. 02/09) Summons in a Civil Action (Page 2)

 Civil Action No. CIV-22-535-HE

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                   on (date)                         ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                         ; or

           ’ I returned the summons unexecuted because                                                                           ; or

           ’ Other (specify):
                                                                                                                                         .


           My fees are $                           for travel and $                 for services, for a total of $   0.00                .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




          Print                       Save As...                                                                     Reset
                     Case 5:22-cv-00535-HE            Document 6           Filed 06/28/22   Page 5 of 10
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma

Clifford Locke and Taffy Locke                                 )
                                                               )
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No. CIV-22-535-HE
Brian Witt and Tara Witt, et al.                               )
                                                               )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Marily Kay Decker, aka Marilyn Kay Decker, Co-Trustee of The Francis and Kay Decker Living Trust, Dated
July 28, 2017
904 Bandera Court
Allen, TX 75013-1134
         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
Colby J. Byrd, Allison B. Christian, Gatlin C. Squires, McAfee & Taft A Professional Corporation, 8th Floor,
Two Leadership Square, 211 North Robinson, Oklahoma City, OK 73102, colby.byrd@mcafeetaft.com,
 allison.christian@mcafeetaft.com, gatlin.squires@mcafeetaft.com; Attorneys for Defendants and Third-Party
Plaintiffs, Brian Witt and Tara Witt
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                      9:49 am, Jun 28, 2022




Signed and sealed by the Clerk of the Court or Deputy Clerk.
                       Case 5:22-cv-00535-HE                 Document 6        Filed 06/28/22          Page 6 of 10

AO 440 (Rev. 02/09) Summons in a Civil Action (Page 2)

 Civil Action No. CIV-22-535-HE

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                   on (date)                         ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                         ; or

           ’ I returned the summons unexecuted because                                                                           ; or

           ’ Other (specify):
                                                                                                                                         .


           My fees are $                           for travel and $                 for services, for a total of $   0.00                .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




          Print                       Save As...                                                                     Reset
                     Case 5:22-cv-00535-HE            Document 6           Filed 06/28/22   Page 7 of 10
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma

Clifford Locke and Taffy Locke                                 )
                                                               )
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No. CIV-22-535-HE
Brian Witt and Tara Witt, et al.                               )
                                                               )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Francis Leo Decker, Co-Trustee of The Francis and Kay Decker Living Trust, Dated July 28, 2017
904 Bandera Court
Allen, TX 75013-1134


         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
Colby J. Byrd, Allison B. Christian, Gatlin C. Squires, McAfee & Taft A Professional Corporation, 8th Floor,
Two Leadership Square, 211 North Robinson, Oklahoma City, OK 73102, colby.byrd@mcafeetaft.com,
 allison.christian@mcafeetaft.com, gatlin.squires@mcafeetaft.com; Attorneys for Defendants and Third-Party
Plaintiffs, Brian Witt and Tara Witt
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                      9:49 am, Jun 28, 2022




Signed and sealed by the Clerk of the Court or Deputy Clerk.
                       Case 5:22-cv-00535-HE                 Document 6        Filed 06/28/22          Page 8 of 10

AO 440 (Rev. 02/09) Summons in a Civil Action (Page 2)

 Civil Action No. CIV-22-535-HE

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                   on (date)                         ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                         ; or

           ’ I returned the summons unexecuted because                                                                           ; or

           ’ Other (specify):
                                                                                                                                         .


           My fees are $                           for travel and $                 for services, for a total of $   0.00                .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




          Print                       Save As...                                                                     Reset
                     Case 5:22-cv-00535-HE            Document 6           Filed 06/28/22   Page 9 of 10
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma

Clifford Locke and Taffy Locke                                 )
                                                               )
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No. CIV-22-535-HE
Brian Witt and Tara Witt, et al.                               )
                                                               )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Angela P. Hart
827 N Edwards Avenue, Apt 8
Wichita, KS 67203-6706


         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
Colby J. Byrd, Allison B. Christian, Gatlin C. Squires, McAfee & Taft A Professional Corporation, 8th Floor,
Two Leadership Square, 211 North Robinson, Oklahoma City, OK 73102, colby.byrd@mcafeetaft.com,
 allison.christian@mcafeetaft.com, gatlin.squires@mcafeetaft.com; Attorneys for Defendants and Third-Party
Plaintiffs, Brian Witt and Tara Witt
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                       9:49 am, Jun 28, 2022




Signed and sealed by the Clerk of the Court or Deputy Clerk.
                    Case 5:22-cv-00535-HE                   Document 6        Filed 06/28/22          Page 10 of 10

AO 440 (Rev. 02/09) Summons in a Civil Action (Page 2)

 Civil Action No. CIV-22-535-HE

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                   on (date)                         ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                         ; or

           ’ I returned the summons unexecuted because                                                                           ; or

           ’ Other (specify):
                                                                                                                                         .


           My fees are $                           for travel and $                 for services, for a total of $   0.00                .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




          Print                       Save As...                                                                     Reset
